445 F.2d 308
    Lawrence Elliott DAWSON, Jr., and James B. Dawson, minors, by their father and next friend, Lawrence E. Dawson, Plaintiffs-Appellees,v.HILLSBOROUGH COUNTY, FLORIDA, SCHOOL BOARD, Defendant-Appellant.
    No. 71-1169 Summary Calendar.*
    United States Court of Appeals, Fifth Circuit.
    June 14, 1971.
    Rehearing Denied and Rehearing En Banc Denied August 13, 1971.
    
      Appeal from the United States District Court for the Middle District of Florida; Ben Krentzman, District Judge, 322 F.Supp. 286.
      David C. G. Kerr, Wm. Terrell Hodges, W. Crosby Few, Macfarlane, Ferguson, Allison &amp; Kelly, Tampa, Fla., for defendant-appellant.
      David A. Maney, Tampa, Fla., for plaintiffs-appellees.
      Before WISDOM, COLEMAN, and SIMPSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      In an extensively detailed opinion, the District Judge found as a fact that there was no necessity for the hair style regulations promulgated by the Hillsborough County School Board, 322 F.Supp. 286. On the record, these findings are not clearly erroneous.
    
    
      2
      The judgment of the District Court, therefore, is affirmed, Ferrell v. Dallas Independent School District, 5 Cir., 1968, 392 F.2d 697; Griffin v. Tatum, 5 Cir., 1970, 425 F.2d 201.
    
    
      3
      Affirmed.
    
    
      4
      ON PETITION FOR REHEARING AND PETITION FOR REHEARING EN BANC
    
    
      5
      The Petition for Rehearing is denied and no member of this panel nor Judge in regular active service on the Court having requested that the Court be polled on rehearing en banc, (Rule 35 Federal Rules of Appellate Procedure; Local Fifth Circuit Rule 12) the Petition for Rehearing En Banc is denied.
    
    
      6
      WISDOM, Circuit Judge, not participating.
    
    
      
        Notes:
      
      
        *
         Rule 18, 5th Cir.; See Isbell Enterprises, Inc. v. Citizens Casualty Co. of New York et al., 5 Cir., 1970, 431 F.2d 409, Part I
      
    
    